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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA


ROBERT A. LEE,                                     )
                                                   )
                            Plaintiff,             )
        v.                                         )      No. 1:05-cv-005-JDT-TAB
                                                   )
MONROE COUNTY COMMISSIONERS,                       )
COL. BILL WILSON,                                  )
STEVE SHARP,                                       )
MAJOR FULLER,                                      )
                                                   )
                            Defendants.            )


                                         JUDGMENT

        The court, having this day made its Entry,

      IT IS THEREFORE ADJUDGED that this cause of action is dismissed with
prejudice.




Date:        2/21/2006                   _______________________________


Laura Briggs, Clerk                        John Daniel Tinder, Judge
United States District Court               United States District Court




By: Deputy Clerk

Copies to:

Robert A. Lee
9827 W. Emberwood Dr.
Sun City, AZ 85351

John T. Roy
9001 Wesleyan Road, Suite 110
Indianapolis, IN 46268
